        Case 1:21-cv-00565-RP Document 22 Filed 08/06/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT                2:'i A!I    6    M   2:   2
                             FOR THE WESTERN DISTRICT OF TEXAS
                                                                            -

 RJC CERVINI, WENDY DAVIS,
 AVID GINS, and TIMOTHY                                                               ci'_.1
 OLLO WAY,

                              Plaintiffs,

                       V.                            ii Action No. 1:21 -cv-00565

iLIAZAR CISNEROS, HANNAH CEH,
OEYLYNN MESAROS, ROBERT
4ESAROS, DOLORES PARK, and JOHN
nd JANE DOES,

                                 Defendants.

                  DEFENDANT HANNAH CEH DEFENSIVE MOTIONS

       COMES NOW, HANNAH CEH, one of the Defendants named in the Plaintiffs'
complaint filed in the above numbered and styled civil action and moves under Rule 12 (b) Fed
R. Civ P. for dismissal of all claims in Plaintiffs' Complaint as follows:

MOTION TO DISMISS FOR
LACK OF SUBJECT-MATTER JURISDICTION:
Defendant files this motion to dismiss Plaintiffs suit for lack of subject matter jurisdiction as
authorized by federal rule of Civil Procedure 12 (b) (1).
       A. Introduction
        1. The Plaintiffs are Eric Cervini, Wendy Davis, David Gins, and Timothy Holloway.
           The defendants are Eliazar Cisneros, Hannah Ceh, Joeylene Mesaros, Robert
           Mesaros, Dolores Park, and John and Jane Doe's.
        2. Plaintiffs sued Defendants, among other things, for violation of 42 U.S.C.1985(3).
        3. The court lacks subject matter jurisdiction over plaintiffs suit; Therefore, the suit
           should be dismissed.

       B. Argument
       4. This court's jurisdiction is limited to cases arising under U. S. Constitution or federal
          law or cases involving diversity of citizenship. See 28USC sections 1331, 1332. In
          this case, the court lacks subject matter jurisdiction over this dispute because the suit
          does not give rise to federal - question jurisdiction. 28U.S. Code § 1331.
       5. Although Plaintiffs allege that the court has federal - question jurisdiction under 42
          U.S.C.1985(3) this case does not involve a federal question because it would be a
          stretch of the intentions of the act 42 U.S.C.1985(3) to extend it into the realm where
          both parties are exercising their First Amendment Rights, both parties acted in
          advocacy of their party candidates and were zealous with each other and the 42
        Case 1:21-cv-00565-RP Document 22 Filed 08/06/21 Page 2 of 3




          U.S.C.1985(3) does not contemplate the use of it as a sword and shield at the same
          time. Furthermore, 42 U.S.C.1985(3) contemplates racial motives. Therefor, 42
          U.S.C.1985(3) cannot apply under the facts pled in Plaintiffs' Complaint.

       C. Conclusion
       6. For these reasons, defendant asks the court to grant Defendant's motion to dismiss
          Plaintiffs suit for lack of subject merit matter jurisdiction and award Defendant just
          costs under 28 U.S.C. §1919.

                       MOTION TO DISSMISS FOR
    FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED:

Defendant files this motion to dismiss Plaintiffs' Complaint for failure to state a claim upon
which relief can be granted, as authorized by federal rules of Civil Procedure 12 (b) (6).
       A. Introduction
       1. The Plaintiffs are herein above named in the style of the case; the Defendants herein
           are likewise herein above named in the style of this case. All references herein to
           Defendant refer to Hannah Ceh though this Motion may also inure to the benefit of all
           Defendants.
       2. Plaintiffs sued Defendant, among other things, for damages resulting from an alleged
           conspiracy to deprive Plaintiffs of their civil rights. Plaintiffs claim damages for
           mental and psychological damage.
       3. In their complaint, the Plaintiffs did not state a claim upon which relief can be
           granted. Therefore, the court should dismiss Plaintiff's suit.
       4. In their complaint, Plaintiff alleges that the Defendant's conduct caused their
           damages. Plaintiffs did not suffer any loss of property, property damages or personal
           injury.
       B. Argument
       5. A court has authority to dismiss a suit for failure to state a claim upon which relief
          can be granted if the complaint does not provide fair notice of the claim and does not
          state factual allegations showing that the right to relieve is plausible. See Ashcroft V.
          Iqbal, 556 U. S. 662, 678 (2009); Bell Atl. Corp. V. Twombly, 550 U. S. 544, 555 -
          56 and n. 3 (2007).
       6. Plaintiffs complaint includes factual allegations that do not show a right to relief that
          is plausible. Brooks, 578 F. 3D at 581 dash 82. Specifically, Plaintiffs made the
           following factual allegations: that Plaintiffs feared for their lives; that Plaintiffs had
           trouble sleeping for over a month after the incident; that Plaintiffs were traumatized
           by the incident so as to cease tour bus business; Plaintiffs claim to have suffered
           substantial emotional distress including experiencing fears in speaking publicly and
           that it would put her in fear of risk of harm from Defendants. There is no claim of any
           contact between the Plaintiffs and the Defendants, other than between the driver of
           the Plaintiffs follow car and the Defendant Cisneros. Under Texas Law, one does not
           recover for mental and emotional anguish damages. See Parkway Company v.
           Woodruff, 901 S. W. 2d 434 (Tex. 1995) ; City of Tyler v. Likes, 962 S. W. 2d 489
           (Tex. 1998).
          Case 1:21-cv-00565-RP Document 22 Filed 08/06/21 Page 3 of 3




           Additionally, the Plaintiffs' Complaint claims that the Defendant engaged in a
           conspiracy. The Plaintiffs' do not claim a Criminal Conspiracy but a Civil Conspiracy
           which requires an underlying Tort. Agar Corp. v. Electro Circuit Int'l, LLC, 580 S.W.
           3d 136 (Tex. 2019). The Plaintiffs' have not pled an underlying Tort, yet they seem to
           allege that being of an opposite party and advocating for an opposite party candidate
           is a conspiracy and thus a Tort, even when, as in this pled complaint, the Plaintiffs
           were engaged in the same conduct the Defendants are alleged to have been engaged.
        C. Conclusion
        7. Because plaintiff did not state a claim upon which relief can be granted the court
           should dismiss the suit.

        D. PRAYER

               For these reasons, Defendant asks the court to enter judgment that Plaintiffs take
        nothing, dismiss Plaintiffs' suit with prejudice, assess costs against the Plaintiffs, and
        award Defendant all other relief the court deems appropriate.

                                                           Respectfully submitted,
                                                           By+JCJ'defendant
                                                           HANNAH CEH,
                                                           Prose
                                                           Address 71T2j                       )
                                                           New Braunfels, Texas
                                                           email rrv&ceh
                                                                                  1D
                                                                                  2ü
                                                           phoneJJ-       J-J
                                          CERTIFICATE OF SERVICE
         I certify that on AugustQ, 2021, a copy of Defendant Hannah Ceh's Defensive Motions were served
by email to: iniini(texasciviIrightsproiect.ore, emmai),texascivilrightsprojecjcg,
john.paredes@protectdemocracy.org, cameron.kistler@Drotectdemocracy.org,
ben.berwick(2protectdemocracy.org, mgottlieb('i1lkie.com, shall@willkie.com, mgovemski@willkie.com,
jsuriani@willkie.com, mtayer@willkie.com.

On the following attorneys in charge for the Plaintiffs:
Mimi Marziani (TX Bar No. 24091906)
Emma Hubert (TX Bar No. 24107808)
Texas Civil Rights Project
1405 Montopolis Drive
Austin, Texas 78741
Telephone: (512) 474-5073
Facsimile: (512) 474-0726
Email: mimi@texascivilrightsproject.org
emma@texascivilrightsproject.org



                                                       4LCJ
                                            Hannah Ceh, Pro Se


                                                                                                       3
